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                                    UNITED STATES DISTRICT COURT
                                            Eastern District of Virginia
                                                  Alexandria Division

 UNITED STATES OF AMERICA
                             V.                               Case Number l:15-cr-00245-TSE-l

 ALEKSEI YURIEVICH BURKOV                                     USM Number:93914-083
 a/k/a "Aleksey Yurevich Burkov"                              Defendant's Attorney: Gregory E. Stambaugh, Esquire
 Defendant.


                                    JUDGMENT IN A CRIMINAL CASE
   The defendant pleaded guilty to Count2 and Count 5 of the Superseding Indictment
   Accordingly, the defendant is adjudicated guilty ofthe following counts involving the indicated offenses.
                                                                                               Offense Ended         Count
 Title and Sectloa                Nature of Offense                        OITense Class

                                                                                               08/2013                     2
 18 U.S.C. § 1029Ca)(2)and        Access Device Fraud                      Felony
 2(a)

 I8U.S.C.§37I                     Conspiracy to Commit Access Device       Felony              12/13/2015
                                  Fraud,Identity Theft, Computer
                                  Intrusion, Wire Fraud, and Money
                                  Laundering

   On motion ofthe United States, the Court has dismissed the remaining counts In the superseding indictment(Count I,
3. and 4)as to defendant ALEKSEI YURIEVICH BURKOV.

   As pronounced on June 26,2020,the defendant is sentenced as provided In pages 2 through 6 ofthis Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days ofany change
of name,residence,or mailing address until all fines, restitution, costs, and special assessments Imposed by thisjud^ent
are fully paid. If ordered to pay restitution,the defendant must notify the court and United States Attorney of material
changes in economic circumstances.

   Signed this 26th day of June,2020.




                                                                     T. S. Ellis, HI
                                                                     United States District Judge
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